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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X

ANGEL CHEVRESTT,
                                                                          20-CV-1949 (VEC)
                          Plaintiff,
                                                                       DECLARATION OF
        -against-                                                     RICHARD LIEBOWITZ

BARSTOOL SPORTS, INC.,

                          Defendant.

---------------------------------------------------------X

                          DECLARATION OF RICHARD LIEBOWITZ, ESQ.,
                    IN RESPONSE TO THE COURT’S SEPTEMBER 15, 2020 ORDER

                 Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

        1.       I am an attorney duly admitted to practice before this Court.

        2.       I make this Declaration in response to this Court’s September 15, 2020 Order,

which required me to submit a sworn statement to the Court detailing: 1) the concrete steps and

processes I have instituted in my practice to improve compliance with the Federal Rules of Civil

Procedure and Court orders; 2) what type of tickler system I am implementing in my practice and

how it will enable me to keep track of deadlines; and 3) whether the New York City Bar

Association’s program Panel of Lawyers Who are Doing it: Practice Management Technology to

Grow Your Solo/Small Law Practice Ethically will be offered again in 2020 or 2021.

        3.       With respect to this Court’s first question, I am committed to improving the way I

practice law, and have taken steps to do so. In December 2019, I retained a highly experienced

ethics attorney, Michael S. Ross, Esq., and since then, he and his firm have spent over 100 hours

working with me to improve the practice management of my firm. Mr. Ross has had countless
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conversations with me and my senior staff; and he has performed on-site visits to my office in

late-February 2020, during which he met with me and my staff to review the physical operations

and actual intake and litigation process of my firm.

       4.      Among other things, and at Mr. Ross’ direction, I purchased the “Clio” practice

management software suite for my firm. (See http://www.clio.com.) Among other features, the

Clio software suite aggregates all information concerning a client matter on a single dashboard,

allowing me and my staff to quickly access all relevant case information necessary for Court

filings. Clio also links every contact, document, calendar event, note, time entry, and bill to the

appropriate case; it tracks a client’s history of contacts and conversations with my firm across e-

mails, telephone calls, etc.; and it permits my firm’s staff to log-in remotely to retrieve case

information while working from home or outside the office. Utilizing Clio has provided me and

my firm – for the first time – with the ability to properly manage case information.

       5.      In addition, and in response to this Court’s second question, I have started using

Clio’s electronic “tickler” system to alert me and my staff as to all critical dates and to inform me

and my staff of when deadlines are approaching. Unfortunately, although new cases are entered

into Clio, my firm’s thousands of earlier cases are being inputted into the system on an ongoing

basis, but it is a slow process. At the same time as I was being counseled by Mr. Ross and was

implementing the Clio litigation management system, I came to accept the fact that no

management improvement for my firm would have any true impact unless I ceased accepting as

many clients as I had been. For that reason, I reduced my new client intake by nearly 50%. This

has allowed my staff to become more careful in their filings, pending Clio being fully operational

and pending my having completed reforming the management of my firm from the ground up.

Mr. Ross has assured me that he will continue to support and mentor me in the proper
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management of my firm, the manner in which I communicate with the courts, and the manner in

which my firm makes representations to adversaries and courts.

          6.    Moreover, I am delegating tasks to employees to make the Firm more efficient in

managing cases. Every Sunday I review what is due that week and create tasks for employees to

make sure everything is done on time.

          7.    Finally, I am consulting with Mr. Ross and others concerning undertaking a

professional affiliation with lawyers outside my firm to create a firm structure that will provide

me, my staff and my clients with additional support to assure compliance with the Federal Rules

of Civil Procedure and Court orders.

          8.    With respect to this Court’s third question, based upon online research and a

conversation with the New York City Bar Association’s staff, it is my understanding that the

CLE program entitled “Panel of Lawyers Who are Doing it: Practice Management Technology

to Grow Your Solo/Small Law Practice Ethically will not be offered again in 2020 or 2021,

however, the Small Law Firm Committee who put this program together will likely have another

program similar in the future. However in the interim, I found three somewhat similar programs

concerning practice management which are offered by the New York State Bar Association: 1)

“Solos And Small Firm Lawyers Conference Part One: Your Firm” (Sept. 14, 2020); 2) “Risk

Management For Lawyers” (Sept. 25, 2020); and 3) “Hot Topics In Law Practice Management”

(2019).

          9.    I have already started watching the program entitled Solos And Small Firm

Lawyers Conference Part One: Your Firm.

          10.   I apologize for consuming this Court’s time and stand ready to provide any

additional information required by the Court.
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      I declare under penalty of perjury that my foregoing statements are true and correct.

Executed on September 30, 2020.

                                            __/s/Richard Liebowitz______
                                            RICHARD LIEBOWITZ
